Case 3:17-cv-00072-NKM-JCH Document 563 Filed 09/25/19 Page 1 of 3 Pageid#: 6601




                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA



   ELIZABETH SINES et al.,                              :         Case No. 3:17-cv-00072

                   Plaintiffs                           :         Judge MOON


                                                        :
          -v-

   JASON KESSLER et al.,                                :

                                                        :
                   Defendants

   _______________________________________________________

        BRIEF IN SUPPORT OF MOTION FOR EXTENSION OF TIME
   _______________________________________________________

          Defendants Ray and Cantwell respectfully request additional time to respond to

   Plaintiff’s Second Amended Complaint for the following reasons:

          1. Undersigned counsel filed a motion a motion to withdraw from the representation

                of Ray and Cantwell on July 25, 2019. (DE 530).

          2. Plaintiff’s filed their Second Amended Complaint on September 17, 2019. (DE

                557).

          3. No party other than Mr. Cantwell filed any objection to the motion to withdraw.

          4. For the reasons stated in the motion to withdraw, it is impossible for undersigned

                counsel to sign pleadings on behalf of Mr. Ray.



                                                   1
Case 3:17-cv-00072-NKM-JCH Document 563 Filed 09/25/19 Page 2 of 3 Pageid#: 6602




         5. For the reasons stated in the motion to withdraw, it is unreasonable for

            undersigned counsel to be compelled to sign pleadings on behalf of Mr. Cantwell.

         6. Therefore, Defendants Ray and Cantwell request, pursuant to FRCP 6(b)(1)(A)

            and FRCP 15(a)(3), an extension of time of three days after the Court rules on this

            request for additional time, to respond to plaintiff’s Second Amended Complaint.

         7. Plaintiffs have reserved the right to object to this motion.




                                        Respectfully Submitted,



                                        s/ Elmer Woodard_____________
                                        Elmer Woodard (VSB No. 27734)
                                        5661 US Hwy 29
                                        Blairs, VA 24527
                                        Phone: 434-878-3422
                                        Email : isuecrooks@comcast.net
                                        Attorney for Defendants Ray and Cantwell


                                        s/ James E. Kolenich_PHV_
                                        James E. Kolenich (OH 77084)
                                        KOLENICH LAW OFFICE
                                        9435 Waterstone Blvd. #140
                                        Cincinnati, OH 45249
                                        Phone: 513-444-2150
                                        Fax: 513-444-2099
                                        Email: JEK318@gmail.com
                                        Attorney for Defendants Ray and Cantwell




                                                 2
Case 3:17-cv-00072-NKM-JCH Document 563 Filed 09/25/19 Page 3 of 3 Pageid#: 6603




                               CERTIFICATE OF SERVICE

          I certify the above was served on September 25, 2019 by the Court’s CM/ECF system
   and upon non ECF participants as follows:



   Elliott Kline REDACTED
   Matthew Heimbach REDACTED
   Vanguard America REDACTED

                                                    s/ James E. Kolenich PHV
                                                    James E. Kolenich




                                              3
